Case 3:19-cv-01025-SPM Document 28-1 Filed 01/14/22 Page 1 of 1 Page ID #285
   Case: 21-1997    Document: 00713940881      Filed: 01/14/2022 Pages: 1




                United States Court of Appeals
                                For the Seventh Circuit
                                Chicago, Illinois 60604

                             Submitted November 15, 2021
                              Decided November 22, 2021

                                         Before

                     DIANE S. SYKES, Chief Judge

                     MICHAEL B. BRENNAN, Circuit Judge

No. 21-1997

TEREZE FENDERSON,                               Appeal from the United States District
     Petitioner-Appellant,                      Court for the Southern District of
                                                Illinois.
      v.
                                                No. 3:19-CV-1025-SPM
UNITED STATES OF AMERICA,
     Respondent-Appellee.                       Stephen P. McGlynn,
                                                Judge.

                                       ORDER

        Tereze Fenderson has filed a request for a certificate of appealability following
the denial of his motion under 28 U.S.C. § 2255. We have reviewed the final order of the
district court and the record on appeal and find no substantial showing of the denial of
a constitutional right. See 28 U.S.C. § 2253(c)(2).

       Accordingly, the request for a certificate of appealability and motion to proceed
in forma pauperis are DENIED.
